Case 1:13-cr-00473-RM Document 27 Filed 12/30/13 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     GARY SNISKY,

      Defendant.
______________________________________________________________________________

                      ORDER RESETTING TRIAL DATES
______________________________________________________________________________

       Pursuant to Minute Entry (ECF No. 26), a three-week jury trial on the docket of Judge

Raymond P. Moore in the U.S. District Courthouse, Courtroom A601, 6th Floor, 901 19th Street,

Denver, Colorado is scheduled to commence on June 9, 2014 at 9:00 a.m. It is

       ORDERED that a Trial Preparation Conference is set for May 29, 2014 at 9:00 a.m. in

Courtroom A601. Lead counsel who will try the case shall attend in person.

       The parties shall be prepared to address the following issues at the Trial Preparation

Conference:

       1)      jury selection;

       2)      sequestration of witnesses;

       3)      timing of presentation of witnesses and evidence;

       4)      anticipated evidentiary issues;

       5)      any stipulations as to fact or law; and
Case 1:13-cr-00473-RM Document 27 Filed 12/30/13 USDC Colorado Page 2 of 2




     6)    any other issue affecting the duration or course of the trial.

     DATED this 30th day of December, 2013.

                                          BY THE COURT:



                                          ________________________________________
                                          RAYMOND P. MOORE
                                          United States District Judge




                                             2
